         Case 1:16-cv-05955-PAE Document 167 Filed 06/03/20 Page 1 of 4



                                                                    June 3, 2020
VIA ECF
The Honorable Paul A. Engelmayer
United States District Court, Southern District of New York
40 Foley Square
New York, NY 10007

               Re: In re Aluminum Warehousing Antitrust Litig., No. 13-md-2481-PAE

Dear Judge Engelmayer:

We write on behalf of Glencore International AG (“GIAG”) and Access World Vlissingen B.V.
(“AW”) in response to plaintiffs’ letter of May 29 (ECF 1252). The Court has asked for a plan
for “limited additional discovery relating to GIAG and [AW].” (Fujifilm Dkt., ECF 182, at 32)
(emphasis added). Instead, plaintiffs seek to conduct extensive documentary, testimonial, and
data discovery as if the case was just beginning, and as if plaintiffs did not already have the
benefit of the dozens of depositions and millions of documents produced by the defendants, their
affiliates, and multiple third parties since the inception of the Aluminum cases in 2013. In
contrast, defendants propose a robust discovery plan that would address plaintiffs’ every
legitimate discovery need, without the wasteful exercise of requiring defendants to review many
thousands of irrelevant emails, and to produce internal emails that contain sensitive third-party
business information, neither of which would develop the record concerning plaintiffs’
allegations. (See Ex. A.)

The complaints include just two sets of allegations that name GIAG or AW. These allegations
concern: (1) GIAG’s 2010 communications with Metro regarding aluminum in Detroit, and (2) a
2011 swap transaction between GIAG and JPMorgan involving aluminum in Detroit and
Vlissingen. (Fujifilm Dkt., ECF 35, ¶¶ 212, 216, 231-34, 240-41; Reynolds/SW Dkt., ECF 99,
¶¶ 107-10, 130.) These limited allegations about specific transactions between April 1, 2010 and
December 31, 2011 (the “Relevant Period”) are the only pleaded facts about GIAG or AW.

Notwithstanding the enormous existing discovery record, which includes the deposition of AW’s
Simon Yntema 1 and voluminous produced communications involving GIAG and AW, and
despite the narrow factual allegations against GIAG and AW, plaintiffs demand data reflecting
GIAG’s worldwide aluminum holdings, and purchase and sale data with all non-parties
throughout most of the world, over a five-year period (2010-14). The vast majority of this data
(involving activities in venues unconnected to this case, such as Australia and Africa) has no
relevance. Yet, during the negotiations, defendants provisionally offered to accede to these
demands, subject to reaching a comprehensive agreement. With no such agreement having been
reached, defendants propose to produce, for the Relevant Period, data relevant to this case: (i)
AW’s warehouse holdings and storage agreements; and (ii) GIAG’s aluminum holdings in


1
 Yntema’s deposition included extensive questioning about—among other issues of interest to
plaintiffs—the queues in Detroit and Vlissingen, AW’s communications with JPMorgan and Metro, the
2011 Vlissingen swap, and “queue building.”
           Case 1:16-cv-05955-PAE Document 167 Filed 06/03/20 Page 2 of 4

Detroit and Vlissingen in both LME and non-LME warehouses. This data will reflect any
alleged “queue building” activity.

Defendants also propose to make available for deposition GIAG aluminum trader Robin
Scheiner, both in his individual capacity and as a Rule 30(b)(6) witness, using the Rule 30(b)(6)
deposition topics requested by plaintiffs. (Ex. A.) These topics include: GIAG’s
communications with affiliates about the 2011 swap with JPMorgan (No. 2); GIAG’s
communications with affiliates “regarding any attempt to create warehouse load-out queues,
bottlenecks, choke points, or efforts to build a critical mass of metal in a warehouse” (No. 5); and
discussions concerning alleged plans to build queues in Vlissingen and Rotterdam (Nos. 9 and
12). Plaintiffs can also question Mr. Scheiner in his individual capacity.

In addition, GIAG and AW propose to search for and produce, for the Relevant Period—using
the keywords requested by plaintiffs—two types of potentially relevant communications: (i) all
communications with Aluminum co-defendants or with additional relevant non-parties identified
by plaintiffs 2 (together with the co-defendants, the “Identified Parties”); and (ii) all internal
communications referring to communications with the Identified Parties. These searches
(collectively, the “Relevance Filters”) will capture any allegedly conspiratorial communications,
as well as any internal references to such communications. Moreover, defendants have offered
to expand the Relevance Filters if plaintiffs propose additional filters aimed at catching emails
that relate to the case.

This extensive package should more than comply with the Court’s directive for “limited
additional discovery.” And Scheiner’s testimony, together with the documents and data
defendants propose to produce, would readily satisfy plaintiffs’ discovery needs.

Plaintiffs, however, demand even more. They seek internal communications that do not refer to
any communication with Identified Parties, but that merely include common words such as, for
example, “queue” or “premium” in conjunction with other common words such as “Detroit” or
“Vlissingen.” These and plaintiffs’ other proposed search terms were in everyday usage; and
emails that contain such terms, not tied to any communication with Identified Parties, are not
relevant, may contain unrelated sensitive business information, and would be unduly
burdensome to review. As the existence of queues is not in dispute, emails that merely refer to
queues are not relevant to any disputed issue, and are at best cumulative to the relevant email
communications defendants offer to produce. Defendants proposed the Relevance Filters in an
effort to identify emails that could shed light on plaintiffs’ allegations. Defendants’ proposal
should capture all relevant emails. Defendants have entreated plaintiffs to request additional
relevance filters. For example, when plaintiffs proposed including communications with Red
Kite, Deutsche Bank, Burgess-Allen, and Steinweg, defendants agreed and invited plaintiffs to
add other entities to the list. But plaintiffs have not suggested any additional relevance filters—
instead insisting that any emails that contain their keywords should be produced, irrespective of
wastefulness or third-party business sensitivity.

Plaintiffs must show that the discovery they seek is “relevant to any party’s claim or defense[.]”
Fed. R. Civ. P. 26(b)(1). Plaintiffs have not met their burden. In ipse dixit fashion, plaintiffs


2
    Red Kite (RK), Deutsche Bank, Burgess-Allen, and Steinweg.




    Page 2 of 4
         Case 1:16-cv-05955-PAE Document 167 Filed 06/03/20 Page 3 of 4

assert that any internal email mentioning these terms is somehow “critical to understanding
GIAG’s strategy and participation in queue building and premium-inflating conduct.” (ECF
1252 at 1.) That conclusory assertion is not only unsupported, but demonstrably incorrect. For
example, Reynolds’ and Southwire’s own internal emails use these very terms, with no
conspiratorial connotation. (See, e.g., Ex. B.)

Plaintiffs turn their burden upside down, contending that the defendants bear the burden of
showing that “each discovery request is not relevant” or is otherwise oppressive. (ECF 1252 at
2.) That is not so. “Plaintiffs, as the parties seeking discovery . . . bear the initial burden of
proving that the information and documents sought are relevant and proportional to the needs of
the case.” Citizens Union of N.Y. v. Atty. Gen., 269 F. Supp. 3d 124, 139 (S.D.N.Y. 2017).

Plaintiffs distort the negotiation record, and claim the parties have reached agreement on all but
one issue. That is not true. From the inception of negotiations, defendants expressly stated that
they “are aiming for a complete agreement on discovery parameters, rather than binding each
side by a partial agreement-in-principle where remaining issues of importance are unresolved.”
(Ex. C) (May 10, 2020 12:39 pm email). Defendants later reiterated their reservation of rights.
(Ex. D) (May 15, 2020 12:34 pm email). At no time did plaintiffs demur or disagree. In a good-
faith effort to resolve the dispute, defendants made increasingly generous provisional proposals
for resolution.

Throughout the negotiations, defendants stated unequivocally that, while they would produce
emails with the Identified Parties, as well as internal emails concerning communications with the
Identified Parties, they would not produce other internal communications that referred to queues
or premiums. Defendants explained that these were commonly used terms that shed no light on
the issues, and that searches conducted without a suitable relevance filter would likely capture
irrelevant communications that implicated sensitive third-party business information.

On May 18, plaintiffs sent a revised search proposal. (Ex. E) (May 18, 2020 8:37 am email and
attachment). The proposal conceded in most respects that, as defendants had insisted, searches
should be restricted pursuant to the Relevance Filters. (Id., items (1), (2), and (3)). However, the
proposal added: “(4) internal GIAG or AW Vlissingen emails relating to queues at Detroit or
Vlissingen.” (Id.) (emphasis added). By its terms, item (4) was not subject to the Relevance
Filters. That same day, defendants wrote back, “We cannot agree to produce all internal
communications referring in passing to the queues.” (Ex. F) (May 18, 2020 1:44 pm email).
Nevertheless, defendants searched for emails pursuant to item (4). For just one custodian at AW
(Yntema), without counting any documents of GIAG custodians Scheiner or Gary Fegel, the
search yielded nearly 38,000 hits. This number alone, even without other custodians’ emails, is
far too many to be reviewed efficiently. Indeed, in the earlier negotiation involving defendants’
efforts to take discovery, Reynolds and Southwire took the position that even 15,000 hits were
too burdensome. (Ex. G.)

Plaintiffs complain that defendants ran the search described in item (4), which resulted in a high
hit count, and did not do keyword searches. But from the start, defendants explained that they
were prepared to produce documents generated by the keyword searches, so long as these were
filtered for relevance. When plaintiffs proposed item (4)—internal emails “relating to queues at
Detroit or Vlissingen”—AW searched for such emails and reported about 38,000 hits. Plaintiffs
complain that the 38,000 figure is inflated because Yntema used a signature block containing the
word “Vlissingen.” This ignores that, at all relevant times, Yntema was based in Vlissingen and
managed the AW warehouse in Vlissingen, and emails to or from Yntema (some of which had


Page 3 of 4
         Case 1:16-cv-05955-PAE Document 167 Filed 06/03/20 Page 4 of 4

been produced years ago) typically refer to “our queue” or “the queue.” (See Ex. H.) Yntema
did not generally use the word “Vlissingen” in connection with the queue. The search run by
defendants presumptively yielded all of his emails that mention the queue in Vlissingen.

Defendants’ discovery plan is a substantial package. (Ex. A.) With the production of significant
data, relevant communications, and individual and Rule 30(b)(6) depositions on plaintiffs’
chosen topics, plaintiffs will have ample opportunity to discover any facts relevant to the issues
in this case. Plaintiffs have not shown that their proposal will yield additional relevant
information. It will not. Nor have plaintiffs offered any expansion of defendants’ proposed
Relevance Filters. Plaintiffs prefer their unfiltered searches, which would capture irrelevant
third-party business information and routine offhand mentions of the queues. By contrast,
Defendants’ proposal is tailored to the Court’s directive of “limited additional discovery” and the
voluminous record already available to the parties. The Court should adopt defendants’
discovery plan.

                                                             Respectfully submitted,

                                                             /s/ Eliot Lauer
                                                             Eliot Lauer




Page 4 of 4
